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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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 In re FOREIGN EXCHANGE BENCHMARK :                                13 Civ. 7789 (LGS)
 RATES ANTITRUST LITIGATION.                                  :
                                                              :          ORDER
                                                              :
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LORNA G. SCHOFIELD, District Judge:

          WHEREAS a pre-trial conference was held in this matter on September 19, 2022. It is

hereby

          ORDERED that Defendants’ letter motion at Dkt. No. 1912, requesting a pre-motion

conference seeking permission to file a motion for certification pursuant to 28 U.S.C. § 1292(b)

of the Court’s order denying Defendants’ motion to decertify the class, is DENIED without

prejudice to renewal after trial for the reasons stated at the conference. It is further

          ORDERED that Defendants’ motion at Dkt. No. 1913, seeking reconsideration of the

Court’s order regarding the verdict form, is DENIED for the reasons stated at the conference. It

is further

          ORDERED that Defendants’ request to offer into evidence Plaintiffs’ responses to certain

interrogatories listed in Dkt. No. 1853 is DENIED for the reasons stated at the conference. It is

further

          ORDERED that, by September 22, 2022, the parties shall file a joint status letter stating

whether they have reached agreement on a protocol for introducing the Fifth Amendment

testimony Plaintiffs seek to introduce or stating the parties’ respective positions if they seek Court

intervention to resolve a dispute. It is further
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       ORDERED that, by October 5, 2022, the parties shall file a letter with the names of all

individuals whom the Court should introduce during jury selection, including witnesses each

party expects to call, lawyers who will have speaking roles and others who will sit at counsel

table, confer with counsel often in front of the jury or otherwise be highly visible to the jury.

Dated: September 19, 2022
       New York, New York




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